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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                 x
                                                   :
UNITED STATES OF AMERICA
                                                   :
               - v. -                                    DECLARATION OF PUBLICATION
                                                   :
ROSS WILLIAM ULBRICHT,                                            S1 14 Cr. 68 (LGS)
     a/k/a “Dead Pirate Roberts,”                  :
     a/k/a “DPR,”
     a/k/a “Silk Road,”                            :

                Defendant.                         :
----------------------------------                 x

               I, David R. Felton, pursuant to Title 28, United States Code, Section 1746, hereby

declare under penalty of perjury that:

               1.       I am an Assistant United States Attorney in the office of the United States

Attorney for the Southern District of New York, and

               2.       Attached to this declaration are (A) a true and correct copy of a notice of

criminal forfeiture in this action, and (B) a true and correct copy of an Advertisement Certification

Report, indicating that the aforementioned notice was posted on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning on December 6, 2022 through

January 4, 2023 as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.

               Both documents were obtained from a Consolidated Asset Tracking System

maintained by the Department of Justice.

Dated: New York, New York
       February 1, 2023
                                                            ____/s/_____________
                                                            David R. Felton
                                                            Assistant United States Attorney
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Attachment 1


                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK
          COURT CASE NUMBER: S1 14 CR. 68 (LGS); NOTICE OF FORFEITURE

        Notice is hereby given that on December 05, 2022, in the case of U.S. v. Ross
William Ulbricht, Court Case Number S1 14 CR. 68 (LGS), the United States District Court
for the Southern District of New York entered an Order condemning and forfeiting the
following property to the United States of America:

       50,491.06251844 BTC that the Government seized from Individual-
       1's residence on or about November 9, 2021; (22-IRS-000311)

       825.38833159 BTC that the Government seized from Individual-1
       on or about March 25, 2022; (22-IRS-000312)

       35.4470080 BTC that the Government seized from Individual-1 on
       or about May 25, 2022; (22-IRS-000313)

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (December 06, 2022) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, United States District Court, 500 Pearl Street,
Room 120, New York, NY 10007, and a copy served upon Assistant United States
Attorney David Felton, One St. Andrew's Plaza, New York, NY 10007. The ancillary
petition shall be signed by the petitioner under penalty of perjury and shall set forth the
nature and extent of the petitioner's right, title or interest in the forfeited property, the time
and circumstances of the petitioner's acquisition of the right, title and interest in the
forfeited property and any additional facts supporting the petitioner's claim and the relief
sought, pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
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the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney David Felton, One St. Andrew's Plaza, New York, NY 10007. This website
provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between December 6, 2022 and January 04, 2023. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. Ross William Ulbricht

Court Case No:              S1 14 CR. 68 (LGS)
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   12/06/2022                      23.9                          Verified
         2                   12/07/2022                      23.9                          Verified
         3                   12/08/2022                      23.9                          Verified
         4                   12/09/2022                      23.9                          Verified
         5                   12/10/2022                      23.9                          Verified
         6                   12/11/2022                      23.9                          Verified
         7                   12/12/2022                      23.9                          Verified
         8                   12/13/2022                      23.9                          Verified
         9                   12/14/2022                      23.9                          Verified
        10                   12/15/2022                      23.9                          Verified
        11                   12/16/2022                      23.8                          Verified
        12                   12/17/2022                      23.9                          Verified
        13                   12/18/2022                      24.0                          Verified
        14                   12/19/2022                      23.8                          Verified
        15                   12/20/2022                      23.8                          Verified
        16                   12/21/2022                      23.9                          Verified
        17                   12/22/2022                      23.9                          Verified
        18                   12/23/2022                      23.8                          Verified
        19                   12/24/2022                      23.9                          Verified
        20                   12/25/2022                      23.9                          Verified
        21                   12/26/2022                      23.9                          Verified
        22                   12/27/2022                      23.9                          Verified
        23                   12/28/2022                      23.9                          Verified
        24                   12/29/2022                      23.9                          Verified
        25                   12/30/2022                      23.9                          Verified
        26                   12/31/2022                      23.9                          Verified
        27                   01/01/2023                      23.9                          Verified
        28                   01/02/2023                      23.9                          Verified
        29                   01/03/2023                      23.8                          Verified
        30                   01/04/2023                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
